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15   COMPANY
16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
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19
     UNITED STATES OF AMERICA,                       Case No. 14-CR-00175-WHA
20
                                  Plaintiff,         RESPONSE TO ORDER
21                                                   REGARDING MONITOR LETTER
22          v.                                       Judge: Hon. William Alsup
23
     PACIFIC GAS AND ELECTRIC COMPANY,
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                                  Defendant.
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s October 20, 2020 order for PG&E to respond to the Monitor’s letter

 3   providing an update on PG&E’s vegetation management and infrastructure inspection

 4   operations.

 5   I.       ENHANCED VEGETATION MANAGEMENT

 6                  PG&E did not programmatically target low-risk line miles for work in its

 7   Enhanced Vegetation Management (“EVM”) program during 2019. In 2019, PG&E devised a

 8   relative wildfire risk ranking for distribution circuits and used those rankings as an input in

 9   selecting areas for EVM work. PG&E did not intend at any time to schedule EVM work by

10   relying solely on the risk rankings. Instead, those rankings were intended to be used as one input

11   among many, including weather, permitting requirements, local workforce inputs, community

12   preferences, coordination of work with routine vegetation management work, and coordination

13   with other wildfire mitigation work, to help guide which lines were selected for EVM. By the

14   end of 2019, approximately 40% of the miles completed and more than 50% of the trees worked

15   (removed or trimmed) as a result of the EVM program were in the top 100 highest-risk circuits

16   as identified by the risk model in use at the time.

17                  While those figures reflect a significant reduction in wildfire risk, PG&E also

18   accepts and agrees with the Monitor’s view that in making operational decisions PG&E must

19   give greater weight to working the riskiest areas first and must do so in a more rigorous,

20   consistent and measurable way. PG&E has put in place specific processes to further emphasize

21   risk ranking for EVM scheduling in 2021.

22                  Specifically, under leadership from a recently appointed Chief Risk Officer—who

23   reports to the CEO, updates the Board frequently and has been consulting directly with the

24   Monitor as well as other independent safety observers—PG&E is developing a more rigorous,

25   systematic and transparent process for selecting areas to be worked for EVM so that the

26   percentage of PG&E’s work that is targeted toward the riskiest areas increases. For the 2021

27   workplan, PG&E’s Chief Risk Officer will be responsible for overseeing, among other things, a

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 1   programmatic approach to selecting areas for work and measuring in advance what percentage of

 2   risk will be eliminated under the current approved risk model, as well as coordinating such work

 3   with system hardening efforts. In areas where insufficient risk will be eliminated, the Chief Risk

 4   Officer’s mandate is to re-evaluate whether there is a different approach to eliminate more risk.

 5   Part of this effort will entail evolving from exclusively volume-based metrics (such as completed

 6   miles) to metrics that also quantify risk reduction. Reporting to the Chief Risk Officer on these

 7   efforts will be PG&E managers responsible for Wildfire Safety, Major Projects, Asset and Risk

 8   Management, and Audit. PG&E has invited the Monitor to attend and provide feedback during

 9   the weekly meetings of this group to review and consider the plans and risk reduction targets for

10   EVM and other wildfire mitigation work in 2021.

11                  The EVM program, which is the first of its kind at PG&E, was stood up very

12   quickly in 2019 to address wildfire risk in High Fire-Threat District (“HFTD”) areas in PG&E’s

13   service territory. It was unprecedented in scale and scope, involving thousands of qualified

14   arborists and tree workers. The program was (and is) performed in addition to PG&E’s historical

15   and ongoing vegetation management work and is designed to go beyond what is needed to

16   satisfy regulatory requirements. Last year, the program navigated uncharted territory and

17   required a mid-stream change in scope necessitated by a CPUC decision regarding the removal

18   of healthy trees. These circumstances caused contractor confusion and required PG&E to
19   undertake numerous steps mid-year to address problems in the execution of this new program.

20   These steps included 100% work verification, increased contractor training, contractor

21   competency tests, and numerous changes to improve EVM recordkeeping. PG&E devoted

22   intense effort to both implementing these improvements and keeping the program on track, and

23   they resulted in demonstrable improvements in the quality of work in the back end of 2019.

24                  As a result of the EVM program, PG&E assessed over 1 million trees in 2019 and

25   trimmed or removed over 180,000 of them, at a cost of over $400 million. Of those 180,000

26   trees trimmed or removed in 2019, over 94,000 were in the top 100 highest-risk circuits. The

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 1   work on all 180,000 trees mitigated potential hazards to PG&E powerlines in areas designated by

 2   the CPUC as posing a high fire threat.1

 3                  For 2020, the Monitor team has found approximately 4.82 potential exceptions

 4   per mile during its vegetation management inspections, which is an average figure over both

 5   miles where work verification is complete, pursuant to PG&E’s 100% work verification policy,

 6   and miles where work verification is still pending. For miles that have completed PG&E’s EVM

 7   process—i.e., have been work-verified—the “potential exception” rate is 3.4 per mile, with

 8   approximately 95% of the individual line segments reviewed having no potential exceptions.

 9   PG&E takes every potential exception seriously, sending personnel back to the tree to understand

10   whether the potential exception is due to a miss, due to differing judgments by the relevant

11   arborists, or another factor. While PG&E does not believe the overall quality of its EVM work

12   has regressed in 2020, the Monitor has identified issues that were missed, and the process has

13   provided valuable feedback to PG&E and its contractor crews.

14   II.       INSPECTIONS OF 500 KV TOWERS

15                  The Monitor reports that PG&E did not perform enhanced climbing inspections of

16   certain transmission towers in HFTD areas by August 31, 2020, despite PG&E’s initial internal

17   target to conduct such inspections before peak fire season. The Monitor’s report is correct.

18   PG&E notes the following points to provide additional context.

19                  First, PG&E’s Wildfire Mitigation Plan targets completion of this year’s

20   inspections of transmission towers by December 31, 2020, not August 31, 2020. PG&E is on

21   track to meet its Wildfire Mitigation Plan targets for such inspections. The issue identified by

22   the Monitor relates to PG&E’s more ambitious internal targets with respect to a specific set of

23   PG&E transmission towers—500 kV towers.

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           1
25          The 180,000 trees worked as part of the 2019 EVM program were associated with a greater
     number of miles than the approximately 2,500 miles of EVM work that were completed in 2019.
26   PG&E did not count a line segment as complete unless the entire segment passed all steps of the
     EVM process, including completion of work on all designated trees and passing work
27   verification. For that reason, PG&E worked a significantly larger number of miles under the
     EVM program during 2019 than it completed.
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 1                  Second, PG&E initially planned to complete all 500 kV climbing inspections

 2   scheduled for 2020 before August 31, not just those in HFTD areas; accordingly, PG&E did not

 3   specifically prioritize 500 kV towers in HFTD areas, as all 500 kV towers were planned to be

 4   inspected before peak wildfire season. Due to operational delays associated with digitizing

 5   inspection forms for 500 kV towers, however, these inspections were not started until early

 6   August. At that time, the work execution group was not given specific guidance on where to

 7   initiate the inspections following the delay, and the decision was made to start in non-HFTD

 8   areas where about 60% of the 500 kV towers are located. This was a process breakdown. That

 9   decision did not align with PG&E’s intent to prioritize work in a risk-informed manner, and

10   PG&E is examining the episode to learn from it. Further, as part of the Chief Risk Officer’s

11   mandate described above, the Chief Risk Officer will be responsible for increasing guidance,

12   oversight and accountability for adhering to a risk-informed plan for asset inspections, as well as

13   for EVM and other wildfire mitigation work.

14                  When the Monitor learned that towers in HFTD areas were not being prioritized,

15   it raised it with PG&E managers in early October, and PG&E agreed with the Monitor that it

16   should prioritize HFTD areas and promptly took steps to do so. As of October 26, 2020, PG&E

17   has completed 656 out of 1,117 inspections in HFTD areas and 1,424 out of 1,767 inspections in

18   non-HFTD areas.
19                  Third, while it does not change the fact that PG&E should have prioritized

20   inspections of 500 kV towers in HFTD areas, it is important to note that the 500 kV towers in the

21   HFTD areas are assets that have been inspected frequently in the last year and a half. During

22   that time, each of these towers has been subject to three inspections—one ground inspection, one

23   climbing inspection, and one inspection by aerial drone—and multiple helicopter patrols. This

24   year alone, before peak fire season, PG&E performed a ground inspection and three helicopter

25   patrols on each tower. Last year, PG&E subjected each of these towers to both a climbing

26   inspection and an inspection by drone. The climbing inspections that PG&E is doing this year

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 1   on the 500 kV towers in HFTD areas are in addition to all of the other inspections and patrols

 2   performed recently.2

 3                                                 ***

 4                  PG&E is focused on making its EVM program and asset inspections as effective
 5   and efficient as possible and will continue to evolve these programs based on experience, as well
 6   as the Monitor’s valuable feedback.
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25          PG&E notes that, based in part on its own review of 2019 asset inspections and in part on
     feedback from the Monitor regarding those inspections, PG&E is implementing a quality
26   management function for asset inspections (beyond PG&E’s standard work verification
     processes and the review that the Centralized Inspection Review Team already performs) that
27   will identify potential exceptions based on a combination of random and targeted statistical
     sampling of data generated by inspections.
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 1   Dated: November 3, 2020                        Respectfully Submitted,

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